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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Kylie S, et al.
                               Plaintiff,
v.                                                    Case No.: 1:19−cv−05936
                                                      Honorable John Z. Lee
Pearson plc, et al.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 5, 2020:


        MINUTE entry before the Honorable John Z. Lee: The Court earlier stated that
Plaintiffs' failure to file a second amended complaint by August 21, 2020, would lead to
dismissal of this case. Because Plaintiffs have not filed an amended complaint, the case is
dismissedCivil case terminated. Mailed notice(ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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